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7    Mercy Retirement Care Center and
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8
                                  UNITED STATES DISTRICT COURT
9
                             NORTHERN DISTRICT OF CALIFORNIA
10
11
     SAMIR SAIRAM, M.D., an individual;              Case No. 3:21-cv-04335-EMC
12   SAMIR SAIRAM, M.D., INC., a California
     professional corporation;                       DEFENDANT’S SUPPLEMENTAL BRIEF
13                                                   IN SUPPORT OF DEFENDANT’S
14                                                   MOTION TO DISMISS COMPLAINT AS
                     Plaintiff,                      TO DEFENDANT TSANOS [FRCP 12(B)(6)]
15
            vs.                                      Judge:         The Hon. Edward M. Chen
16                                                                  USDC, Northern District
     MERCY RETIREMENT AND CARE                                      Phillip Burton Federal Building
17                                                                  Courthouse, Courtroom 5
     CENTER, a California corporation; TAMRA
                                                                    450 Golden Gate Avenue
18   MARIE TSANOS, and DOES 1-25                                    San Francisco, CA 94102
19
20                   Defendants.

21
22          Pursuant to the Court’s August 26, 2021 Order (Docket No. 18), Defendant respectfully
23   submits this Supplemental Brief in Support of Defendant’s Motion to Dismiss Complaint as To
24   Defendant Tsanos [FRCP 12(B)(6)] (“Motion”) (Docket No. 8).
25            I.     The Current Case Does Not Meet the Standard for Injury Under RICO Re:
26                   Wire fraud/Medicare Reimbursement
27          To state a claim under the civil Racketeer Influenced and Corrupt Organizations Act
28   (RICO), a plaintiff is required to show that a RICO predicate offense not only was a "but for"


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1    cause of his injury, but was the proximate cause as well. Proximate cause for RICO purposes is
2    evaluated in light of its common-law foundations; proximate cause thus requires some direct
3    relation between the injury asserted and the injurious conduct alleged. A link that is too remote,
4    purely contingent, or indirect is insufficient. Hemi Group, LLC v. City of New York, (2010) 559
5    U.S. 1, 130 S. Ct. 983, 175 L. Ed. 2d 943.
6            Though the Racketeer Influenced and Corrupt Organizations Act is interpreted broadly,
7    its reach is limited by the requirement of a direct causal connection between the predicate
8    wrong and the harm. Id. at 559 U.S. 1, at 17. Three Supreme Court cases interpret "by reason
9    of" to require that a plaintiff in a civil RICO action show that the defendant's actions were "not
10   only . . . a 'but for' cause of [plaintiff's] injury, but . . . the proximate cause as well." Holmes v.
11   Sec. Inv. Prot. Corp., 503 U.S. 258, 268, 112 S. Ct. 1311, 117 (1992); see Hemi Group, LLC v.
12   City of N.Y., 559 U.S. 1, 9, 130 S. Ct. 983, 175 (2010) (citing Holmes, 503 U.S. at 268, 271,
13   274); Anza v. Ideal Steel Supply Corp., 547 U.S. 451, 461, 126 S. Ct. 1991, 164 L. Ed. 2d 720
14   (2006). The “central question” in evaluating proximate causation in the RICO context “is
15   whether the alleged violation led directly to the plaintiff's injuries.” Anza, 547 U.S. at 461.
16           A plaintiff asserting injury to property must allege (1) the injury is proprietary as
17   opposed to "personal" or "emotional" and (2) the proprietary injury resulted in "concrete
18   financial loss." Canyon Cty. v. Syngenta Seeds, Inc., 519 F.3d 969, 975 (9th Cir. 2008).
19           Here, judged by these standards, the injury in Plaintiff’s complaint is even more
20   attenuated, since any alleged wire fraud would allegedly make Medicare to pay more. Plaintiff
21   alleges that Mercy and its representatives submitted above board billings to the Medicare
22   program for reimbursement. However, Plaintiff was not the real party in interest and his
23   injuries were not proximately caused by the alleged RICO violation. If any, it was the
24   Medicare, not the Plaintiff, that allegedly suffered the direct consequences, and the alleged
25   wire fraud was only an indirect harm.
26           The Supreme Court’s most recent decision in this area, Hemi, states, "[a] link [between
27   the RICO predicate acts and plaintiff's injuries] that is 'too remote,' 'purely contingent,' or
28   'indirec[t]' is insufficient" to show proximate cause. 559 U.S. at 9 (quoting Holmes, 503 U.S. at


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1    271, 274). This requirement reflects "[t]he general tendency of the law, in regard to damages at
2    least, . . . not to go beyond the first step." Id. at 10 (quoting Holmes, 503 U.S. at 271-72).
3    Relatedly, the Hemi court found it highly "relevant to the RICO 'direct relationship'
4    requirement . . . whether better situated plaintiffs would have an incentive to sue." Id. at 11-12
5    (citing Holmes, 503 U.S. at 269-70).
6           Additionally, these Supreme Court cases have identified "three functional factors with
7    which to assess whether proximate cause exists under RICO.” Racecourse v. Wynn Resorts,
8    2021 U.S. App. LEXIS 6190, 2021 WL 805938. See In re Neurontin Mktg. & Sales Pracs.
9    Litig., 712 F.3d 21, 35-36 (1st Cir. 2013) (citing Holmes, 503 U.S. at 269-70). These are (1)
10   "concerns about proof" because "the less direct an injury is, the more difficult it becomes to
11   ascertain the amount of a plaintiff's damages attributable to the violation, as distinct from other,
12   independent, factors," Id. at 36 (quoting Holmes, 503 U.S. at 269); (2) "concerns about
13   administrability and the avoidance of multiple recoveries," Id..; and (3) "the societal interest in
14   deterring illegal conduct and whether that interest would be served in a particular case," Id. As
15   to this third factor, "directly injured victims can generally be counted on to vindicate the law . .
16   . without any of the problems attendant upon suits by plaintiffs injured more remotely." Id.
17   (quoting Holmes, 503 U.S. at 269-70).
18          Here, applying the Hemi analysis, it is clear that Plaintiff has not sufficiently alleged a
19   direct, non-contingent injury. At minimum, Medicare, which is not involved in this suit, is a
20   “better situated plaintiff” with “an incentive to sue.” (see Holmes, 503 U.S. at 269-70).
21   Medicare was Defendant’s direct recipient for the billings. Plaintiff’s theory is that Defendant’s
22   wrongful conduct caused him injuries. However, any injury, if any, was allegedly suffered by
23   Medicare, and Medicare is necessarily several steps closer to Defendant’s allegedly wrongful
24   conduct. By attempting to recover directly from Defendant, Plaintiff’s theory of causation both
25   "go[es] beyond the first step" of the injuries from the alleged RICO scheme and is "purely
26   contingent." See Racecourse v. Wynn Resorts, 2021 U.S. App. LEXIS 6190, 2021 WL 805938.
27          Similarly, in the RICO context, the focus is on the directness of the relationship
28   between the conduct and the harm. Stillaguamish Tribe of Indians v. Nelson, 2013 U.S. Dist.


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1    LEXIS 55133, *1, 2013 WL 1661244. When a court evaluates a RICO claim for proximate
2    causation, the central question it must ask is whether the alleged violation led directly to
3    plaintiff's injuries. Id. In Bridge v. Phoenix Bond & Indem. Co., 553 U.S. 639, 658, 128 S. Ct.
4    2131, 170 L. Ed. 2d 1012 (2008), proximate cause satisfied where injury was direct result of
5    petitioners’ fraud, a foreseeable and natural consequence of petitioners’ scheme, and where
6    there were no independent factors that account for the claimed injury, and no risk of
7    duplicative recoveries by plaintiffs removed at different levels of injury from the violation, and
8    no more immediate victim is better situated to sue. Id.
9           Here, the connection between defendant and Plaintiff’s alleged wire fraud claims and
10   the wrongful billing practices is too weak to sustain the RICO claims or that the injuries are too
11   indirect to the defendant's alleged conduct.
12          To have standing under RICO, Plaintiffs must suffer an economic injury which is
13   concrete and particular and not speculative. See Imagineering, Inc. v. Kiewit Pacific Co., 976
14   F.2d 1303, 1310-11 (9th Cir. 1992) (holding not all injuries compensable and RICO requires
15   "concrete financial loss"); First Nationwide Bank v. Gelt Funding Corp., 27 F.3d 763, 768-69
16   (2nd Cir. 1994) (RICO cause of action does not accrue until the amount of damages becomes
17   clear and definite); Oscar v. University Students Co-op Ass'n, 965 F.2d 783, 786-87 (9th Cir.
18   1992) (en banc) (decrease in value of property too speculative to recover); Lui Ciro, Inc. v.
19   Ciro, Inc., 895 F. Supp. 1365, 1380 (D. Hawai'i 1995) (not all injuries compensable under
20   RICO); Sheperd v. American Honda Motor Co., Inc., 822 F. Supp. 625, 627-630 (N.D. Cal.
21   1993) A plaintiff may not sue under RICO unless he can show concrete financial loss. In re
22   Taxable Mun. Bond Sec. Litig., 51 F.3d 518, 523 (5th Cir. 1995); accord Imagineering, Inc. v.
23   Kiewit Pac. Co., 976 F.2d 1303, 1310 (9th Cir. 1992).
24          Similarly, in City of Milwaukee v Universal Mortgage Corp. 692 F. Supp. 992 (1988),
25   the city accused the defendant bank of a RICO scheme to defraud the U.S. Department of
26   Housing and Urban Development into approving home mortgage insurance on dilapidated
27   homes. Milwaukee suffered decreased property values and increased crime and was forced to
28   spend more to deal with the scheme. The court ultimately concluded that the city was not the


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1    real party in interest and its injuries were not proximately caused by the RICO violation. It was
2    the United States, not the city, that suffered the direct consequences, and the deterioration of
3    Milwaukee's neighborhoods was only an indirect harm.
4            Finally, injury which results indirectly from the predicate acts does not confer standing
5    under RICO. See Benedetti v. Nissenbaum, 1993 U.S. Dist. LEXIS 4559, No. 90 Civ. 7206,
6    1993 WL 118489, at *3 (S.D.N.Y. April 12, 1993) (Wood, J.) The causal nexus must logically
7    connect plaintiff’s injury with defendant’s overt predicate acts. Valleyside Dairy Farms v. A.O.
8    Smith Corp., 1996 U.S. Dist. LEXIS 10982, *7.
9            Here, the plaintiff does not have standing to pursue a RICO action as he was not a
10   target of the alleged racketeering activity and plaintiff only alleges that he suffered, at best,
11   indirect injury.
12            II.       CONCLUSION
13           For the foregoing reasons, and the reasons presented in its Motion and Reply, and at the
14   August 26 oral argument, Defendant respectfully requests that the complaint be dismissed as to
15   Defendant Tsanos with prejudice.
16
17   DATED: September 2, 2021                       ERICKSEN, ARBUTHNOT
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19
                                                    ___________________________________
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1                                   CERTIFICATE OF SERVICE
2            I hereby certify that a true and correct copy of the foregoing document was filed with
3    the court and served electronically through the CM-ECF (Electronic Case Filing) system to
     all counsel of record to those registered to receive a Notice of Electronic Filing for this case
4    on this 2nd day of September, 2021.
5            I also caused a true copy of the foregoing document to be served in this action upon
6    the person(s) set forth below, by the method indicated.

7    PERSON(S) SERVED:
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18   foregoing is true and correct.
19          Executed at Concord, California on September 2, 2021.
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21
                                                           Penny Peterson
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